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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:
                                                                   Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.1                                            Case No. 23-10961-BLS

                                                                   (Jointly Administered)
              Debtors.
                                                                   Objection Deadline: TBD
                                                                   Hearing Date: TBD

  MOTION FOR ENTRY OF AN ORDER (I) APPROVING BIDDING PROCEDURES
   FOR THE SALE OF ASSETS, (II) SCHEDULING HEARINGS AND OBJECTION
  DEADLINES WITH RESPECT TO THE DEBTORS’ AUTHORITY TO SELL, (III)
 SCHEDULING BID DEADLINES AND AN AUCTION, (IV) APPROVING THE FORM
AND MANNER OF NOTICE THEREOF, (V) APPROVING CONTRACT ASSUMPTION
   AND ASSIGNMENT PROCEDURES, AND (VI) GRANTING RELATED RELIEF

             The above captioned debtors and debtors in possession (collectively, the “Debtors”) file

this Motion for Entry of an Order (i) Approving Bidding Procedures for the Sale of Assets, (ii)

Scheduling Hearings and Objection Deadlines with Respect to the Debtors’ Authority to Sell, (iii)

Scheduling Bid Deadlines and an Auction, (iv) Approving the Form and Manner of Notice thereof,

(v) Approving Contract Assumption and Assignment Procedures, and (vi) Granting Related Relief

(“Motion”). Through this Motion, the Debtors seek authority to sell substantially all of the

Debtors’ assets, including the assets of Williams Industrial Services Group Inc. (“Holdings”),

Williams Industrial Services Group, LLC (“WISG”), and Williams Industrial Services, LLC

(“WIS”), Construction & Maintenance Professionals, LLC (“CMP”), WISG Electrical, LLC

(“Electrical”), Williams Plant Services, LLC (“WPS”), and Williams Specialty Services, LLC


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:
Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.



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(“WSS”) as more particularly described in the Stalking Horse APA defined herein. Filed

contemporaneously herewith is the Declaration of Eric Mendelsohn in support of this Motion. In

support of this Motion, the Debtors respectfully represent as follows:

                                 JURISDICTION AND VENUE

         1.     This Court has jurisdiction over these cases and this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (N),

and (O). Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a).

         2.     The bases for the relief requested herein are sections 105(a), 363(b), and 365 of title

11 of the United States Code (“Bankruptcy Code”), Rules 2002, 6003, and 6004 of the Federal

Rules of Bankruptcy Procedure (“Bankruptcy Rules”), and Rule 6004-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”).

                                         BACKGROUND

         3.     On July 22, 2023 (“Petition Date”), the Debtors filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

Delaware (“Court”). The Debtors have continued in possession of their properties and have

continued to operate and manage their business as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. No request has been made for the appointment of a

trustee or examiner, and no official committee has yet been established in these cases.

         4.     The factual background relating to the Debtors’ commencement of these cases is

set forth in detail in the Declaration of Tracy Pagliara in Support of Chapter 11 Petitions and

First Day Pleadings (“First Day Declaration”) filed on the Petition Date and incorporated herein

by reference.




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A.       The Debtors’ Business

         5.    The Debtors are leading providers of infrastructure related services to customers in

energy and industrial end markets, including a broad range of construction, maintenance,

modification and support services, with offices in Georgia, Florida and New York. Among the

customers served by the Debtors are companies and governmental entities in the nuclear, fossil-

fuel, hydroelectric, water, and pulp and paper industries.

         6.    Over the past several years, the Debtors have experienced declining financial

performance due to, among other things, inflationary pressures, labor shortages, rising labor costs,

work delays on projects, supply chain disruptions, and the effects of the COVID-19 pandemic. In

addition, one of the Debtors, WIS, has incurred significant losses on fixed price contracts involving

water projects in Florida. The Debtors have implemented cost reduction and liquidity enhancing

measures to help mitigate the effect of these declines and improve their financial performance and

liquidity, but have not been able to overcome these trends.

         7.    In January 2023, the Debtors retained Greenhill & Co., LLC (“Greenhill”), an

internationally recognized investment banking firm, to assist the Debtors in evaluating various

strategic alternatives. The scope of Greenhill’s engagement involved an evaluation of a broad

range of potential financial and strategic options, including a possible sale of the business. During

the course of that process, as the Debtors continued to experience liquidity issues, it became

apparent that neither refinancing nor an infusion of new capital were feasible alternatives, and the

only viable path forward was a sale of the Debtors’ businesses.

B.       Sale Process

         8.    In February 2023, Greenhill initiated an intensive marketing effort in which it

reached out to approximately 140 parties – both strategic and financial investors – who might have

an interest in acquiring the company. Approximately fifty of those parties executed non-disclosure


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agreements and received comprehensive packets of confidential information regarding the

company. Greenhill conducted information calls with many of those parties.

         9.    Six parties provided written indications of interest and were invited into a second

round to conduct due diligence and attend management presentations. From that process, following

intensive due diligence Energy Solutions, Inc. (“Energy Solutions”) provided the highest and best

offer to acquire the company.

         10.   Following additional due diligence, Energy Solutions proposed two alternative

structures for the transaction: (i) an out-of-court transaction involving a tender offer for existing

equity followed by a short-form merger, or (ii) an acquisition of substantially all of the assets of

WPS, WSS, and Electrical, and select assets of Holdings, WISG and WIS, through a sale under

section 363 of the Bankruptcy Code.

         11.   In its out-of-court proposal, Energy Solutions offered $53 million, based upon a

starting enterprise value of $67.5 million, less reductions of $14.5 million attributable to estimated

future losses from the Florida water projects ($7.5 million) and the risk of non-renewal of certain

contracts with a significant customer ($7 million). The out-of-court transaction, requiring

shareholder approval, would not have resulted in any recovery for shareholders. Consequently, the

Debtors determined that it was not feasible to attempt to consummate an out-of-court transaction.

         12.   In its alternative proposal to acquire assets pursuant to a section 363 sale, Energy

Solutions has offered (i) to pay $60 million and (ii) to assume certain liabilities of WPS, WSS,

Electrical, Holdings, WISG and WIS.

         13.   The Debtors have accepted Energy Solutions’ proposal, subject to the receipt of

higher and better offers submitted in accordance with Bidding Procedures (as defined below) to




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be approved by the Court. The Bidding Procedures are designed to—and the Debtors believe the

Bidding Procedures will operate to—maximize the likelihood of a competitive bidding process.

C.       Stalking Horse Bidder

         14.   To effectuate the proposed transaction, the Debtors have executed an Asset

Purchase Agreement with Energy Solutions (the “Stalking Horse APA” or “Purchase Agreement”)

that identifies EnergySolutions Nuclear Services, LLC as the proposed Stalking Horse Bidder, and

provides certain Bid Protections as specified therein. A copy of the Stalking Horse APA is attached

hereto as Exhibit A. The Stalking Horse APA provides that: Energy Solutions is the Stalking

Horse Bidder; the purchase price for the Purchased Assets (as defined in the Bidding Procedures)

is $60,000,000 plus the assumption of certain liabilities of WPS, WSS, Electrical, Holdings,

WISG, and WIS; the good faith deposit to be placed in escrow by the Stalking Horse Bidder is

$6,000,000; and the Bid Protections (as defined in the Bidding Procedures) for the Stalking Horse

Bidder include a Break-Up Fee (as defined in the Bidding Procedures) in the amount of $2,400,000

and Buyer Expense Reimbursement (as defined in the Bidding Procedures) up to the amount of

$1,000,000, the payment of both of which to become due pursuant to specified conditions set forth

in the Stalking Horse APA, as described below. The Debtors assert that these terms are

commercially reasonable under the circumstances.

         15.   In the event that the Debtors, collectively or any combination of the Debtors, enter

into any Additional Stalking Horse APA (as defined in the Bidding Procedures) for assets not

being purchased by Energy Solutions that the Debtors determine, after consultation with the

Consultation Parties (as defined in the Bidding Procedures), is in the best interests of the Debtors

and their estates, the Debtors will file with the Court, and upload to the Data Room (as defined in

the Bidding Procedures), a notice that shall include the following: (a) the identification of the

Additional Stalking Horse Bidder (as defined in the Bidding Procedures); (b) a copy of the


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Additional Stalking Horse APA; (c) the purchase price provided for the assets covered by the

Additional Stalking Horse APA; (d) the amount of the deposit paid by the Additional Stalking

Horse Bidder; and (e) the amount of any Additional Bid Protections (as defined in the Bidding

Procedures). The Debtors will seek expedited approval of any Additional Stalking Horse APA and

any Additional Bid Protections provided for therein.

         16.      In accordance with Local Rule 6004-1(c)(i)(C), the Debtors highlight the following

provisions relating to the Bid Protections:

               (1) Go-Shop Period. Section 8.02 of the Stalking Horse APA provides that until the
                   date of entry of the Sale Order, the Debtors are permitted to solicit or encourage
                   submission of proposals or offers by any person in connection with a competing
                   transaction.

               (2) Conditions to Payment of Break-Up Fee and Expense Reimbursement. Pursuant to
                   Section 8.01 of the Stalking Horse APA, the Break-Up Fee and Buyer Expense
                   Reimbursement shall only be payable following the termination of the Agreement
                   pursuant to Section 11.01(c) (i.e., Sellers’ breach of representations, warranties or
                   covenants that cause a closing condition not to be satisfied); Section 11.01(d) (i.e.,
                   closing shall not have occurred by September 17, 2023]; Section 11.01(f) (i.e.,
                   Sellers enter into, or Court approves, an agreement for a competing transaction, or
                   any of the Debtors’ cases are dismissed or converted to Chapter 7, or an examiner
                   with expanded powers is appointed in Debtors’ chapter 11 cases); Section 11.01(g)
                   (i.e., a Sale Order is not entered by September 5, 2023); or Section 11.01(h) (i.e.,
                   any Seller determines that its fiduciary obligations prevent it from proceeding with
                   the sale).

                  In the event the Stalking Horse APA is terminated pursuant to Sections 11.01(c) or
                  11.01(h), the Break-Up Fee and Buyer Expense Reimbursement shall be due and
                  payable within two (2) business days following the date of termination. In the event
                  the Stalking Horse APA is terminated pursuant to Sections 11.01(d), (f) or (g), and
                  a competing transaction is consummated or entered into within twelve (12) months
                  following termination, the Break-Up Fee and Expense Reimbursement shall be due
                  and payable within one (1) business day following the consummation of the
                  competing transaction.

               (3) Break-Up/Topping Fees and Expense Reimbursement. As stated in Paragraphs 11
                   and 12 of the Bidding Procedures, the Debtors may designate Additional Stalking
                   Horse Bidders for assets not being purchased by Energy Solutions and may offer
                   such Bidders bid protections, including a break-up fee; provided, that, all bid
                   protections must be negotiated by the Debtors, in consultation with the Consultation
                   Parties, subject to notice and an opportunity for parties in interest to object. As


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                  stated in Paragraph 29(b)(v) of the Bidding Procedures, any Credit Bid with respect
                  to the Transferred Assets must include sufficient cash consideration to pay in full
                  all Bid Protections to the Stalking Horse Bidder, and any Credit Bid with respect to
                  any Excluded Assets must include sufficient cash consideration to pay in full any
                  Additional Bid Protections in connection with any Additional Stalking Horse APA
                  with respect to such Excluded Assets.

               (4) Bidding Increments. As stated in Paragraph 43 of the Bidding Procedures, the
                   starting bid (“Starting Bid”) shall be the highest or best Qualified Bid, as
                   determined by the Debtors in consultation with the Consultation Parties. If the
                   Stalking Horse Bid is selected as the Starting Bid, any Overbid shall include the
                   amount provided for in the Stalking Horse Bid, plus the Bid Protections, plus a
                   minimum overbid increment of $500,000 or a lesser amount to be determined by
                   the Debtors in their business judgment, in consultation with the Consultation
                   Parties.

D.       Proposed Bidding Procedures

         17.      By this Motion, the Debtors request approval of the Bidding Procedures (“Bidding

Procedures”) attached as Exhibit 1 to the proposed order attached hereto as Exhibit B (“Bidding

Procedures Order”). The proposed Bidding Procedures are designed to permit a fair, efficient,

competitive, and value-maximizing auction process for the sale of the assets in the Stalking Horse

APA, and other assets of the Debtors (collectively, the “Assets”).

         18.      In light of the extensive marketing process conducted by Greenhill prior to the

Petition Date, the Debtors believe the Bidding Procedures will provide them more than sufficient

time to determine the interest of other parties who may have an interest in proposing a competing

transaction. Furthermore, the Debtors believe that potential bidders will have ample notice and

time to conduct thorough due diligence to submit binding bids in advance of the bid deadline. The

Bidding Procedures are designed to encourage all prospective bidders to put their best bid forward,

bring finality to the Debtors chapter 11 process, and create a path towards the highest or otherwise

best available recoveries to the Debtors’ stakeholders.




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         19.       Because the Bidding Procedures are attached as Exhibit 1 to the Bidding

Procedures Order (which is attached hereto as Exhibit B), they are not restated fully herein.

Generally, however, the Bidding Procedures establish, among other things: 2

               (1) the Debtors will serve the Bidding Procedures Order (setting forth the schedule for
                   the sale process), Bidding Procedures, and Sale Notice (as defined below) on all
                   relevant notice parties as soon as practicable after entry of the Bidding Procedures
                   Order;

               (2) the availability of, and access to, due diligence by potential bidders;

               (3) the deadlines and requirements for submitting competing bids and the method and
                   criteria by which such competing bids are deemed to be “Qualified Bids” sufficient
                   to trigger the Auction (as defined in the Bidding Procedures) and participate in the
                   Auction;

               (4) the manner in which Qualified Bids will be evaluated by the Debtors to determine
                   the starting bid for the Auction;

               (5) the conditions for having the Auction and procedures for conducting the Auction,
                   if any; and

               (6) various other matters relating to the sale process generally, including the
                   designation of the back-up bid, return of any good faith deposits, and certain
                   reservations of rights.

         20.       In accordance with Local Rule 6004-1(c)(i)(A), the Debtors highlight the following

provisions relating to the Qualification of Bidders. A Potential Bidder must:

               (1) Deliver financial information by the Bid Deadline to the Debtors and their
                   Advisors, as defined in the Bidding Procedures, as provided in Paragraph 16 of the
                   Bidding Procedures.

               (2) Demonstrate its financial wherewithal to consummate a sale as provided in
                   Paragraph 16(b) of the Bidding Procedures.

               (3) Execute a non-disclosure agreement as provided in Paragraph 16(a) of the Bidding
                   Procedures.




2
 The following summary is provided for convenience purposes only. To the extent any of the terms described below are inconsistent
with the Bidding Procedures, the Bidding Procedures control in all respects.


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         21.      In accordance with Local Rule 6004-1(c)(i)(B), the Debtors highlight the following

provisions relating to the Qualification of Bids:

               (1) A Potential Bidder must submit a Bid by August 31, 2023 as provided in Paragraph
                   22 of the Bidding Procedures. Pursuant to Paragraph 37 of the Bidding Procedures,
                   the Debtors may work with any Potential Bidder to cure any deficiencies in the Bid.

               (2) A Bid must be in the form as provided in Paragraph 29 of the Bidding Procedures.
                   In particular, a Bid must include an executed agreement (“Proposed Agreement”)
                   for the acquisition of all or some of the businesses or assets of the Debtors, together
                   with a redline comparing the Proposed Agreement to the Stalking Horse APA, or
                   any Additional Stalking Horse APA. Among other things, the Bid must state that it
                   is formal, binding and unconditional, not subject to any further due diligence or
                   financing contingency, and irrevocable until the Bidder is notified that the Bid is
                   not the Successful Bid or a Back-Up Bid. The Bid must contain proof of financial
                   ability to perform and identify any governmental or regulatory approval required
                   for the consummation of the transaction. With the exception of the Stalking Horse
                   Bid and any Additional Stalking Horse Bid, the Bid must state that the Bidder shall
                   not be entitled to any break-up fee or expense reimbursement.

               (3) A Bid must include a good faith deposit in the amount of ten percent (10%) of the
                   Purchase Price, as provided in Paragraphs 30 and 32 of the Bidding Procedures.
                   Such good faith deposit is not refundable if, as stated in Paragraph 55 of the Bidding
                   Procedures: (i) the Qualified Bidder attempts to modify, amend, or withdraw its
                   Qualified Bid, except as permitted herein, during the time the Qualified Bid remains
                   binding and irrevocable or (ii) the Qualified Bidder is selected as a Successful
                   Bidder or Back-Up Bidder and refuses or fails to enter into the required definitive
                   documentation or to consummate the Sale Transactions according to these Bidding
                   Procedures.

               (4) As provided in Paragraph 39 of the Bidding Procedures, secured creditors shall
                   have the right to credit bid all or a portion of their claims with respect to the
                   collateral securing their claims, provided, however, that any such credit bid shall
                   be subject to the lien challenges rights of the creditors committee set forth in any
                   Court order. Any credit bid must also include sufficient cash consideration to satisfy
                   in full all obligations secured by senior liens on the applicable assets, as provided
                   in Paragraph 29(b)(ii) of the Bidding Procedures.

               (5) As provided in Paragraph 61 of the Bidding Procedures, all potential Bidders
                   (including the Stalking Horse Bidder and any Additional Stalking Horse Bidders)
                   that participate in the bidding process shall be deemed to have (i) consented to the
                   core jurisdiction of the Court to enter any order or orders, which shall be binding
                   in all respects, in any way related to the Bidding Procedures, the bid process, the
                   Auction, the applicable Sale Hearing (as defined herein), or the construction and
                   enforcement of any agreement or any other document relating to the Sale
                   Transactions (as defined in the Bid Procedures); (ii) waived any right to a jury trial


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                  in connection with any disputes relating to these Bidding Procedures, the bid
                  process, the Auction, the applicable Sale Hearing, or the construction and
                  enforcement of any agreement or any other document relating to the Sale
                  Transactions; and (iii) consented to the entry of a final order or judgment in any
                  way related to these Bidding Procedures, the bid process, the Auction, the
                  applicable Sale Hearing, or the construction and enforcement of any agreement or
                  any other document relating to the Sale Transactions if it is determined that the
                  Court would lack Article III jurisdiction to enter such a final order or judgment
                  absent the consent of the parties.

               (6) As provided in Paragraph 15 of the Bidding Procedures, the Stalking Horse Bidder
                   is a Qualified Bidder, and following the entry of an order designating a party as an
                   Additional Stalking Horse Bidder, such Additional Stalking Horse Bidder shall be
                   a Qualified Bidder.

         22.      Importantly, the Bidding Procedures recognize and comply with the Debtors’

fiduciary obligations to maximize sale value and do not impair the Debtors’ ability to consider all

strategic alternatives made at or prior to the Auction. As provided in Paragraphs 8 and 51 of the

Bidding Procedures, the Debtors preserve their right, after consulting with the Consultation Parties,

to modify the Bidding Procedures as necessary or appropriate to maximize value for the Debtors’

estates, provided, however, that the Debtors will not make material modifications without further

order of the Court, and the Debtors will not modify the Bid Protections afforded to the Stalking

Horse Bidder in the Stalking Horse APA without the written consent of the Stalking Horse Bidder.

         23.      As provided in Paragraph 29(c) of the Bidding Procedures, all Bids are irrevocable

until the Debtors notify the Potential Bidder that such Bid is not a Successful Bid or a Back-Up

Bid, or with respect to a Back-Up Bid until the earlier of (a) the first business day after the close

of the Sale Transaction with the Successful Bidder for the Assets bid upon by such Back-Up Bidder

or (b) 60 days after the entry of an order approving the Sale Transaction with the Successful Bidder

for the Assets Bid upon by such Back-Up Bidder.




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E.       Proposed Sale Schedule

         24.      The Debtors are seeking approval of the Bidding Procedures and the Sale Schedule

(as defined below) to establish a clear and open process for the solicitation, receipt, and evaluation

of third-party bids on a timeline that will allow the Debtors, or any combination of Debtors, to

consummate a Sale. A defined path toward effectuating the Sale will drive the sale process in an

expeditious and efficient manner and is designed to encourage all prospective bidders to put their

best bids forward at the outset of these chapter 11 cases to provide the highest or otherwise best

available recoveries to the Debtors’ stakeholders.

         25.      The Debtors, with the assistance of Greenhill, conducted an intensive pre-petition

marketing effort, and will use the time following entry of the Bidding Procedures Order to continue

the process to actively market the Assets. Subject to the Court’s availability, the key dates and

deadlines the Debtors seek to establish pursuant to the Bidding Procedures Order (“Sale

Schedule”) are as follows, provided that the Debtors request authority to amend the Sale Schedule

without further order of the Court so long as such changes to the Sale Schedule comply with any

milestones contained in such DIP Financing Order and/or Cash Collateral Order as may be entered

by the Court:

               (1) Bid Deadline: August 31, 2023 at 5:00 p.m. (prevailing Eastern Time) is the
                   deadline by which all Bids must be actually received by the parties specified in the
                   Bidding Procedures (the “Bid Deadline”).

               (2) Auction: The Auction, if necessary, will be held on September 2, 2023 at 10:00
                   a.m. (prevailing Eastern Time) at the offices of counsel to the Debtors, Thompson
                   Hine LLP, Two Alliance Center, 3560 Lenox Road NE, Suite 1600, Atlanta, GA
                   30309 and/or virtually.

               (3) Sale Objection Deadline: The deadline by which all objections to the Sale or the
                   assumption and assignment of any executory contracts must be filed with the Court
                   and served so as to be actually received by the appropriate notice parties (“Sale
                   Objection Deadline”), is September 3, 2023 at 5:00 p.m. (prevailing Eastern Time).




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               (4) Sale Hearing: The hearing authorizing the Sale to the Successful Bidder (as
                   defined in the Bidding Procedures) shall take place before the Court on September
                   5, 2023 at 10:00 a.m. (prevailing Eastern Time).

F.       Notice of Auction

         26.      As soon as reasonably practicable, but no later than three (3) business days after

entry of the Bidding Procedures Order (“Mailing Date”), the Debtors (or their agents) will cause

the notice substantially in the form attached as Exhibit 2 to the Bidding Procedures Order (“Sale

Notice”), to be served on the following parties or their respective counsel, if known: (a) the Office

of the United States Trustee for the District of Delaware; (b) counsel to the Debtors’ pre-petition

and post-petition secured lenders, (c) the counsel to the official committee of unsecured creditors,

if any; (d) all parties who have expressed a written interest in some or all of the Assets; (e) all

parties who are known or reasonably believed, after reasonable inquiry, to have asserted any lien,

encumbrance, claim or other interest in the Assets; (f) the Internal Revenue Service; (g) the

Georgia Department of Revenue; (h) the Delaware Division of Revenue; (i) the United States

Attorney for the District of Delaware; (j) the state attorneys general for states in which the Debtors

conduct business; (k) the Securities Exchange Commission; and (l) any party that has requested

notice pursuant to Bankruptcy Rule 2002.

         27.      In addition, on the Mailing Date, or as soon thereafter as practicable, the Debtors

(or their agents) will serve by first-class mail, postage prepaid, the Sale Notice, upon all other

known creditors of the Debtors and all counterparties to the Debtors’ executory contracts and

unexpired leases.

         28.      The Debtors submit that the Sale Notice is reasonably calculated to provide all

interested parties with timely and proper notice of the proposed Sale, including the date, time, and

place of the Auction (if one is held) and the Bidding Procedures and the dates and deadlines related




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thereto. Accordingly, the Debtors request that the form and manner of the Sale Notice be approved

and that the Court determine that no other or further notice of the Auction is required.

G.       Summary of the Assumption and Assignment Procedures

         29.    The Debtors propose the below procedures for the assumption and assignment

(“Assumption and Assignment Procedures”) for notifying the counterparties to executory contracts

and unexpired leases (each a “Contract Counterparty” and collectively, the “Contract

Counterparties”) of the possible assignment of their contracts or leases and the proposed cure

amounts in the event the Debtors decide to assume and assign such contracts or leases in

connection with the Sale.

         i.     Notice of Potential Assumption and Assignment

         30.    In accordance with the Bidding Procedures Order, on or before three business days

after the entry of the Bidding Procedures Order (such date, the “Assumption and Assignment

Service Date”), the Debtors shall file with the Court and serve a Notice of Potential Assumption

and Assignment via first class mail, electronic mail, or overnight delivery the Cure Notice annexed

as Exhibit 3 to the Bidding Procedures Order on all Contract Counterparties and, include as

Exhibit A to the Cure Notice, a list (“Assigned Contracts Schedule”) that specifies: (a) each of the

Debtors’ executory contracts and unexpired leases that may be assumed and assigned in connection

with the Sale (i.e., the “Assigned Contracts”), including the name of the Contract Counterparty to

each such contract; (b) the proposed amount necessary, if any, to cure all monetary defaults, if any,

under each Assigned Contract (the “Cure Costs”); and (c) the deadline by which any Contract

Counterparty may file an objection to the proposed assumption, assignment, cure, and/or adequate

assurance and the procedures relating thereto. The Debtors shall serve, via first class mail, a

customized version of the Cure Notice, without the Assigned Contracts Schedule, which will

include: (w) instructions (the “Instructions”) regarding how to view the Assigned Contracts


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Schedule              on             the              Debtors’            case            website,

https://dm.epiq11.com/casse/williamsindustrialservicesgroup/info (the “Case Website”); (x)

information necessary and appropriate to provide notice of the relevant proposed assumption and

assignment of Assigned Contracts and rights thereunder; (y) Cure Costs, if any; and (z) the

procedures for objecting thereto ((x)-(z) collectively, the “Necessary Notice Information”), on

each Contract Counterparty to the Assigned Contracts. The Debtors shall serve on all parties that

requested notice pursuant to Bankruptcy Rule 2002 a modified version of the Cure Notice that

contains the Instructions and Necessary Notice Information. The Debtors believe the service as set

forth herein should be deemed proper, due, timely, good, and sufficient notice and no other or

further notice will be necessary.

         31.    A Contract Counterparty listed on the Assigned Contract Schedule may file an

objection (“Assigned Contract Objection”) to the proposed assumption and assignment of the

applicable Assigned Contract or the proposed Cure Costs, if any. All Assigned Contract Objections

must: (i) be in writing; (ii) comply with the applicable provisions of the Bankruptcy Rules, the

Local Rules, and any order governing the administration of these chapter 11 cases; (iii) state with

specificity the nature of the objection and, if the objection pertains to the proposed Cure Costs,

state the cure amount alleged to be owed to the objecting Contract Counterparty, together with any

applicable and appropriate documentation in support thereof; and (iv) be filed with the Court and

served and actually received no later than fourteen days after the Assumption and Assignment

Service Date (“Cure Objection Deadline”).

         32.    If a Contract Counterparty files an Assigned Contract Objection in a manner that is

consistent with the requirements set forth above, and the Stalking Horse Bidder (if any) or other

Successful Bidder (as defined in the Bidding Procedures) has designated in writing that it wishes




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to take assignment of such Assigned Contract, and the parties are unable to consensually resolve

the dispute prior to the Sale Hearing (as defined below), such objection will be resolved at the Sale

Hearing or such later date as determined by the Court. To the extent that any Assigned Contract

Objection cannot be resolved by the parties, such Assigned Contract shall be assumed and assigned

only upon satisfactory resolution of the Assigned Contract Objection, to be determined in the

Stalking Horse Bidder (if any) or other Successful Bidder’s discretion. To the extent an Assigned

Contract Objection remains unresolved, the Assigned Contract may be conditionally assumed and

assigned, subject to the consent of the Stalking Horse Bidder (if any) or other Successful Bidder,

pending a resolution of the Assigned Contract Objection after notice and a hearing. If an Assigned

Contract Objection is not satisfactorily resolved, the Stalking Horse Bidder (if any) or other

Successful Bidder may determine that such Assigned Contract should be rejected and not assigned,

in which case the Stalking Horse Bidder (if any) or other Successful Bidder will not be responsible

for any Cure Costs in respect of such contract.

         ii.    Supplemental Cure Notice

         33.    If (a) the Debtors discover contracts inadvertently omitted from the Assigned

Contracts Schedule, (b) the Successful Bidder identifies other executory contracts or unexpired

leases that it desires to assume and assign in connection with the Sale, or (c) the previously stated

Cure Cost associated with any Assigned Contract requires modification, the Debtors may, at any

time after the Assumption and Assignment Service Date: (i) supplement the Assigned Contracts

Schedule with the previously omitted Assigned Contracts; (ii) remove any Assigned Contracts

from the list of executory contracts and unexpired leases ultimately selected as Assigned Contracts

that the Successful Bidder proposes be assumed and assigned to it in connection with the Sale or

add to such list; and/or (iii) modify the previously stated Cure Costs associated with any Assigned

Contract.


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         34.    In the event the Debtors exercise any of the rights reserved above, the Debtors shall

promptly serve a supplemental notice of assumption and assignment by electronic transmission,

hand delivery, or overnight mail on the Contract Counterparty, and its counsel, if known, at the

last known address available to the Debtors (a “Supplemental Cure Notice”). Each Supplemental

Cure Notice shall include the same information with respect to listed Assigned Contracts as would

have been included in the Notice of Potential Assumption and Assignment (“Supplemental

Assigned Contracts Schedule”).

         35.    Any Contract Counterparty that receives a Supplemental Cure Notice may file an

objection (“Supplemental Assigned Contract Objection”) to the proposed assumption and

assignment of the applicable Assigned Contract or the proposed Cure Costs, if any. All

Supplemental Assigned Contract Objections must: (a) state, with specificity, the legal and factual

basis for the objection as well as what Cure Costs are required, if any; (b) include appropriate

documentation in support thereof; and (c) be filed on the date that is the later of (i) the Sale

Objection Deadline and (ii) 14 days following the date of service of such Supplemental Cure

Notice, which date will be set forth in the Supplemental Cure Notice (“Supplemental Assigned

Contract Objection Deadline”).

         36.    If a Contract Counterparty files a Supplemental Assigned Contract Objection in a

manner that is consistent with the requirements set forth above, and the parties are unable to

consensually resolve the dispute, the Debtors shall seek an expedited hearing before the Court

(“Supplemental Assigned Contract Hearing”) to determine the Cure Costs, if any, and approve the

assumption of the relevant Assigned Contracts. If there is no such objection, then the Debtors shall

obtain an order of this Court fixing the Cure Costs and approving the assumption and assignment

of any Assigned Contract listed on a Supplemental Cure Notice.




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         37.    If a Contract Counterparty does not file and serve an Assigned Contract Objection

or Supplemental Assigned Contract Objection in a manner that is consistent with the requirements

set forth above, and absent a subsequent order of the Court establishing an alternative Cure Cost,

(a) the Cure Costs, if any, set forth in the Cure Notice (or Supplemental Cure Notice) shall be

controlling, notwithstanding anything to the contrary in any Assigned Contract or any other

document, and (b) the Contract Counterparty will be deemed to have consented to the assumption

and assignment of the Assigned Contract and the Cure Costs, if any, and will be forever barred

from objecting to the assumption and assignment of such Assigned Contract and rights thereunder,

including the Cure Costs, if any, and from asserting any other claims related to such Assigned

Contract against the Debtors or the Successful Bidder, or the property of any of them.

         38.    Any objections to the Successful Bidder’s proposed form of adequate assurance of

future performance must be filed by the later of the Sale Objection Deadline or Supplemental

Assigned Contract Objection Deadline, as applicable, and such objections will be resolved at the

Sale Hearing or Supplemental Assigned Contract Hearing, as applicable. The Debtors may, with

the consent of the Successful Bidder, adjourn the resolution of any such objection to a later hearing.

         39.    For the avoidance of doubt, the inclusion of an Assigned Contract on the Assigned

Contracts Schedule or Supplemental Assigned Contracts Schedule shall not obligate the Debtors

to assume any such Assigned Contract or obligate any Stalking Horse Bidder or a Successful

Bidder to take assignment of any such Assigned Contract. Any Stalking Horse Bidder or other

Successful Bidder shall determine whether to take assignment of any Assigned Contracts pursuant

to the terms of the Stalking Horse APA, or Additional Stalking Horse APA (as defined in the

Bidding Procedures).




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                                           RELIEF REQUESTED

         40.      By this Motion, the Debtors seek entry of two orders: (i) following an initial hearing

(“Bidding Procedures Hearing”), an order in the form attached hereto as Exhibit B (a) authorizing

and scheduling the Auction at which the Debtors will solicit the highest or best bid for the Sale;

(b) approving the bidding procedures related to the solicitation of Bids and the conduct of the

Auction; (c) approving the form and manner of the notices of (1) the proposed sale of the Debtors’

Assets, the Auction and the Sale Hearing and (2) the proposed assumption and assignment of the

Debtors’ executory contracts and unexpired leases and proposed cure costs related thereto; and (ii)

following a final hearing (“Sale Hearing”), an order (“Sale Order”) authorizing the sale by the

Debtors of the Assets to the bidder submitting the highest or best bid for the Assets in connection

with the bidding and sale process.

                                  BASIS FOR RELIEF REQUESTED

A.       The Assets May Be Sold Free and Clear of Liens, Claims, Interests and
         Encumbrances under Bankruptcy Code Section 363(f).

         41.      Bankruptcy Code section 363(f) authorizes a debtor to sell assets free and clear of

all liens, claims, interests and encumbrances provided that one of the following conditions is met:

               (1) applicable non-bankruptcy law permits sale of such property free and clear of such
                   interests;

               (2) such entity consents;

               (3) such interest is a lien and the price at which such property is to be sold is greater
                   than the aggregate value of all liens on such property;

               (4) such interest is in bona fide dispute; or

               (5) such entity could be compelled, in a legal or equitable proceeding, to accept a
                   money satisfaction of such interest.

11 U.S.C. § 363(f)(1)-(5).




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         42.    As section 363(f) of the Bankruptcy Code is stated in the disjunctive, when

proceeding pursuant to section 363(b), it is only necessary for a debtor to meet one of the five

conditions of section 363(f). See In re Flyboy Aviation Props., LLC, 501 B.R. 828, 834 (Bankr.

N.D. Ga. 2013); Mich. Employment Sec. Comm’n v. Wolverine Radio Co. (In re Wolverine Radio

Co.), 930 F.2d 1132, 1147 n.24 (6th Cir. 1991) (stating that Bankruptcy Code section 363(f)

written in disjunctive; holding that court may approve sale “free and clear” provided at least one

of the subsections of section 363(f) is met); In re Zeigler, 320 B.R. 362, 381 (Bankr. N.D. Ill.

2005); In re Dundee Equity Corp., No. 89-B-10233, 1992 Bankr. LEXIS 436, at *12 (Bankr.

S.D.N.Y. Mar. 6, 1992) (“Section 363(f) is in the disjunctive, such that the sale free of the interest

concerned may occur if any one of the conditions of §363(f) have been met.”); In re Bygaph, Inc.,

56 B.R. 596, 606 n.8 (Bankr. S.D.N.Y. 1986) (same).

         43.    The Debtors submit that each lien (other than liens that will be assumed liabilities

or permitted encumbrance under the Purchase Agreement) satisfies at least one of the five

conditions of Bankruptcy Code section 363(f). If an entity with liens on the Assets does not consent

to the proposed sale of such Assets, the Debtors intend to demonstrate at the Sale Hearing their

satisfaction of the requirements of Bankruptcy Code section 363(f). Alternatively, the Debtors may

sell the Assets free and clear of any other interests under section 363(f)(5) because the liens on any

Assets sold will attach to the cash proceeds of such Sale in their order of priority and entities

holding such interests could be compelled to accept money satisfaction in legal or equitable

proceedings. Accordingly, pursuant to Bankruptcy Code section 363, the Debtors may sell the

Assets free and clear of all claims, liens and encumbrances.

         44.    Moreover, the Debtors have sent or will send the Sale Notice to any purported

lienholders. If such lienholders do not object to the Sale, then their consent should reasonably be




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presumed. Accordingly, the Debtors request that unless a party asserting a lien on any of the Assets

(other than with respect to assumed liabilities and permitted encumbrances under the Purchase

Agreement) timely objects to this Motion, such party shall be deemed to have consented to any

Sale approved at the Sale Hearing.

         45.    It is also appropriate to sell the Assets free and clear of successor liability relating

to the Debtors’ businesses. Such limitations on successor liability ensure that the Successful Bidder

is protected from any claims or lawsuits premised on the theory that the Successful Bidder is a

successor in interest to one or more of the Debtors. Courts have consistently held that a buyer of a

debtor’s assets pursuant to a section 363 sale takes free and clear from successor liability relating

to the debtor’s business. See e.g., In re Tran World Airlines, Inc., 322 F.3d 283, 288-90 (3d Cir.

2003) (sale of assets pursuant to section 363(f) barred successor liability claims for employment

discrimination and rights under travel voucher program); In re Leckie Smokeless Coal Co., 99 F.3d

573, 585 (4th Cir. 1996) (affirming sale of debtors’ assets free and clear of certain taxes); In re

Dixie Pellets LLC, No. 09-05411-11-TOM, 2010 Bankr. LEXIS 5624, at *28 (Bankr. N.D. Ala.

May 13, 2010) (approving sale of substantially all of Debtor’s assets free and clear of all liens,

including but not limited to “all rights or claims based on any theory or principle of successor

liability”); In re Ormet, No. 13-10334 (MFW), 2014 Bankr. LEXIS 3071, at *6-11 (Bankr. D. Del.

July 17, 2014) (permitting sale free and clear of successor liability claims relating to under-funded

pension plan); In re Insilco Techs., Inc., 351 B.R. 313, 322 (Bankr. D. Del. 2006) (stating that 363

sale permits buyer to take ownership of property without concern that creditor will file suit based

on successor liability theory); see also In re Gen. Motors Corp., 407 B.R. 463, 505-06 (Bankr.

S.D.N.Y. 2009) (holding that “the law in this Circuit and District is clear; the Court will permit

GM’s assets to pass to the purchaser free and clear of successor liability claims, and in that




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connection, will issue the requested findings and associated injunction”); In re Chrysler LLC, 405

B.R. 84, 111 (Bankr. S.D.N.Y. 2009) (“[I]n personam claims, including any potential state

successor or transferee liability claims against New Chrysler, as well as in rem interests, are

encompassed by section 363(f) and are therefore extinguished by the Sale Transaction”).

         46.    The purpose of a sale order purporting to authorize the transfer of assets free and

clear of all claims, liens and encumbrances would be defeated if claimants could thereafter use the

transfer as a basis to assert claims against a purchaser arising from a seller’s pre-sale conduct.

         47.    Moreover, without such assurances, a buyer may not agree to purchase the Assets

and potential bidders may choose not to participate in the Auction or, if they did, would submit

reduced bid amounts. To that end, the Successful Bidder should not be liable under any theory of

successor liability relating to the Debtors’ businesses, but should hold the Assets free and clear.

B.       A Successful Bidder Should be Entitled to the Protection of Bankruptcy Code 363(m).

         48.    Pursuant to Bankruptcy Code section 363(m), a good faith purchaser is one who

purchases assets for value, in good faith, and without notice of adverse claims. See Miami Ctr. Ltd.

P ‘ship v. Bank of N.Y., 838 F.2d 1547, 1554 (11th Cir. 1988); In re Mark Bell Furniture

Warehouse, Inc., 992 F.2d 7, 9 (1st Cir. 1993); In re Willemain v. Kivitz, 764 F.2d 1019, 1023 (4th

Cir. 1985); In re Congoleum Corp., No. 03-51524, 2007 Bankr. LEXIS 1707, at *5-7 (Bankr.

D.N.J. May 11, 2007); In re Abbotts Dairies, 788 F.2d 143, 147 (3d Cir. 1986).

         49.    The Purchase Agreement for the Successful Bidder will be negotiated at arm’s-

length, with each of the parties represented by its own advisors and counsel. Accordingly, the

Debtors request that the order approving the Sale include a provision that the Successful Bidder

for the relevant Assets is a “good faith” purchaser within the meaning of Bankruptcy Code section

363(m). The Debtors maintain that providing the Successful Bidder with such protection will

ensure that the maximum price will be received by the Debtors for the Assets.


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C.       The Form, Manner and Extent of Notice of the Motion and the Proposed Sale are
         Appropriate and Adequate Under the Circumstances.

         50.      The Debtors will serve the Sale Notice and the Cure Notice in accordance with the

Bidding Procedures Order. The notice of the proposed Sale to be provided by the Debtors as set

forth herein sufficiently describes the terms and conditions of the proposed Sale.

         51.      Several sections of the Bankruptcy Code and Bankruptcy Rules dictate the

sufficiency of notice and adequacy of service. As discussed below, the content and manner of

service of this Motion and the related notices satisfy all such requirements:

               (1) Sale Notice — Bankruptcy Code section 363 provides that a trustee may sell
                   property “after notice and hearing.” Under Section 102(1) of the Bankruptcy Code,
                   the phrase “after notice and hearing” means “notice as is appropriate in the
                   particular circumstances, and such opportunity for a hearing as is appropriate in the
                   particular circumstances.” 11 U.S.C. § 102(1)(A). As set forth above, creditors
                   have been provided notice of the salient details regarding this motion and the Sale
                   Hearing. Accordingly, notice is sufficient under Bankruptcy Code section 363.

               (2) Bankruptcy Rule 2002 - Bankruptcy Rule 2002 requires twenty-one (21) days’
                   notice of the proposed sale of property other than in the ordinary course of business.
                   In addition, Bankruptcy Rule 2002 provides that notice of a sale shall “include the
                   time and place of any public sale, the terms and conditions of any private sale and
                   the time fixed for filing objections.” Fed. R. Bankr. P. 2002. As set forth above, the
                   notice of this motion that has been and will be provided by the Debtors satisfies
                   each of these requirements.

               (3) Bankruptcy Rules 6004 and 6006 - Bankruptcy Rule 6004 requires that notice of
                   sales of property out of the ordinary course of business complies with Bankruptcy
                   Rule 2002. As set forth above, the Debtors have complied with Bankruptcy Rule
                   2002. Bankruptcy Rule 6006 requires notice of a motion to assume and assign an
                   executory contract or unexpired lease to be served on the counterparty to such
                   contract or lease, as well as on other parties in interest as the Court may direct. The
                   Sale Notice and the Cure Notice have been or will be served on counterparties to
                   the Assigned Contracts, thereby satisfying this requirement.

         52.      The Debtors submit that the notice they have provided and intend to provide as

outlined above with respect to the proposed Sale, the Bidding Procedures, and the Cure Costs, as

applicable, is reasonable and appropriate and constitutes good and adequate notice of the proposed




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Sale and the procedures and proceedings related thereto and therefore should be approved by this

Court.

D.       The Assumption and Assignment Procedures Should Be Approved.

         53.    To facilitate and effectuate the Sale, the Debtors are seeking approval of the

Assumption and Assignment Procedures. The Assumption and Assignment Procedures are

reasonable and necessary to properly notify parties of potential assumptions and/or assignments

and provide the Contract Counterparties with sufficient time to determine the accuracy of the

proposed cure amount and whether the Debtors have provided adequate assurance of future

performance.

         54.    The Debtors believe that they can and will demonstrate at the Sale Hearing that the

requirements for assumption and assignment of the Assigned Contracts to the Successful Bidder

will be satisfied. As required by the Bidding Procedures, the Debtors will evaluate the financial

wherewithal of potential bidders before designating such party a Qualified Bidder (as defined in

the Bidding Procedures) or Successful Bidder (e.g., financial credibility, willingness, and ability

of the interested party to perform under the Assigned Contracts), including as it relates to such

Qualified Bidder’s willingness, and ability to perform under the Assigned Contracts assigned to

the Successful Bidder. Further, the Assumption and Assignment Procedures provide the Court and

other interested parties ample opportunity to evaluate and, if necessary, challenge the ability of the

Successful Bidder to provide adequate assurance of future performance and object to the

assumption of the Assigned Contracts or proposed cure amounts. The Court therefore will have a

sufficient basis to authorize the Debtors to reject or assume and assign the Assigned Contracts as

set forth in the definitive agreement of the Successful Bidder.




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         55.    Accordingly, the Debtors submit that the Assumption and Assignment Procedures

should be approved as reasonable and necessary measures to adequately notify parties in interest

and conduct the proposed sale process in a fair, efficient, and proper manner.

E.       The Stay of the Sale Order Should be Waived.

         56.    Pursuant to Bankruptcy Rules 6004(h) and 6006(d), an order authorizing the sale

of property or the assignment of an executory contract or unexpired lease is stayed for fourteen

(14) days after the entry of an order unless the Court orders otherwise.

         57.    The Debtors request that this Court order that such stay is not applicable with

respect to the sale of the Debtors’ Assets and assignment and assumption of the related executory

contracts and/or unexpired leases. To require the Debtors to effectively be liable under the

applicable executory contracts and/or unexpired leases for an extra fourteen (14) days and to delay

the closing will burden the estates and require unnecessary expenditures of the Debtors’ limited

resources. The Debtors note that similar requests to waive the stay imposed under Bankruptcy

Rules 6004(h) and 6006(d) are routinely granted in this district and others. See, e.g., In re Midway

Games Inc., No. 09-10465 (KG) (Bankr. D. Del. June 3, 2009); In re Nortel Networks Inc., No.

09-10138 (Bankr. D. Del. Feb. 27, 2009); In re Beaulieu Grp., LLC, No. 17-41677 (MGD) (Bankr.

N.D. Ga. Oct. 31, 2017); In re the Great Atl. & Pac. Tea Co., Inc., Case No. 15-23007 (SCC)

(Bankr. S.D.N.Y. Aug. 11, 2015); In re Delia’s, Inc., No. 14-23678 (RDD) (Bankr. S.D.N.Y. Feb.

10, 2015).

                                             NOTICE

         58.    Notice of this Motion has been provided to: (a) the Office of the United States

Trustee for the District of Delaware; (b) the Debtors’ thirty (30) largest unsecured creditors; (c)

counsel to the administrative agents for the Debtors’ prepetition credit facilities; (d) the Internal

Revenue Service; (e) the Georgia Department of Revenue; (f) the Delaware Division of Revenue;


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(g) the United States Attorney for the District of Delaware; (h) the Securities and Exchange

Commission; (i) the state attorneys general for states in which the Debtors conduct business; and

(j) any party that has requested notice pursuant to Bankruptcy Rule 2002. In light of the nature of

the relief requested, the Debtors respectfully submit that no further notice is necessary.

                                          CONCLUSION

         WHEREFORE, based upon the foregoing, the Debtors respectfully request that the Court

(a) enter an order following the Bidding Procedures Hearing, substantially in the form attached

hereto as Exhibit B, (i) approving the Bidding Procedures, and (ii) authorizing the Debtors to take

all actions reasonably necessary to effectuate such Bidding Procedures and the Sale; (b) enter the

Sale Order following the Sale Hearing, approving the highest or best bid for the Assets and

granting the other relief requested in this Motion; and (c) grant such other and further relief as the

Court deems just and proper.

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 Dated: July 24, 2023.
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